        Case 8-17-77510-ast               Doc 27          Filed 02/26/18   Entered 02/26/18 15:25:15


UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:
                                                                  Chapter 7
BRIAN OFSIE
                                                                  Case No.: 817-77510 ast
                             Debtor.
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                           STIPULATION EXTENDING THE TIME OF THE TRUSTEE
                                      TO OBJECT TO DISCHARGE

      WHEREAS, on or about 12/05/17, Brian Ofsie filed a voluntary Petition seeking relief
pursuant to Chapter 7 of the United States Bankruptcy Code, 11 U.S.C. §101 et. seq.; and

        WHEREAS, R. Kenneth Barnard was appointed interim trustee and thereafter duly
qualified as the permanent Trustee (the "Trustee") and

       WHEREAS, a meeting pursuant to 11 U.S.C § 341 was conducted on 01/10/18 and at the
conclusion thereof, the Trustee requested documents and information, and adjourned the
meeting for further examination of the Debtor upon receipt of such documents and
information; and

         WHEREAS, the Trustee has not yet received or reviewed all documents and information
requested of the Debtor and has not concluded his investigation of the Debtor's financial
affairs.

        NOW, THEREFORE, IT IS STIPULATED and AGREED by and between R. Kenneth Barnard,
as Trustee for the estate of Brian Ofsie, and the Debtor Brian Ofsie, by his counsel Lester &
Associates, P.C., that the time within which the Chapter 7 Trustee may commence an adversary
proceeding objecting to the Debtor's discharge pursuant to 11 U.S.C. §727, is hereby extended
to and including May 11, 2018.

Dated: February 7, 2018
                                                R. KENNETH BARNARD, ESQ.
                                                Chapter 7 Trustee
                                      By:       /s/ R. Kenneth Barnard

                                                LESTER & ASSOCIATES, P.C.
                                                Attorneys for the Debtor
                                      By:       /s/ Roy J. Lester
SO ORDERED:
